                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       No. 06-00283-05-CR-W-NKL
                                              )
MARVIN C. LOCKETT,                            )
                                              )
                       Defendant.             )


                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local

Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 1 of the Superceding

Indictment. After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Fed.R.Crim.P. 11, I determined that the guilty plea knowledgeable and

voluntary as to Count 1 of the Indictment and that the offense charged is supported by an

independent basis in fact containing each of the essential element of such offense. A record was

made of the proceedings and a transcript is available. I therefore recommend that the plea of guilty

be accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                       s/ SARAH W. HAYS
                                                      SARAH W. HAYS
                                                      United States Magistrate Judge
Dated: September 25, 2007




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